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AO 91 (Rev. 11/11) Criminal Complaint

 

UNITED STATES DISTRICT COURT

 

 

 

for the
District of Idalio '
United States of America )
V. )
) Case No.
TIMOTHY RAY ALLEN JR 22-mj-10
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of ____ January 12, 2022, in the county of _ Kootenai in the
District of Idaho , the defendant(s) violated: , oS
Code Section Offense Description

18 U.S.C. § 922(g)(1) : Felon in Possession of a Firearm: On Jan. 12, 2022, in the District of Idaho,
the defendant, TIMOTHY R. ALLEN JR., did knowing he had previously been

convicted of a crime punishable by imprisonment for a term exceeding one
year, to-wit: Assault With a Dangerous Weapon, in United States District
Court, District of Idaho, case number 3:11-CR-00127-EJL-001; did knowingly
possess in and affecting commerce a firearm, to wit; Smith and Wesson:
Shield M2.0, 9mm Pistol, Serial Number JHH2550, said firearm having been
shipped and transported tn interstate and foreign commerce. °

This criminal complaint is based on these facts:

See attached affidavit.

a Continued on the attached sheet. ee

Complainant's signature

Edward |. Jacobson, FBI Special Agent

 

Printed name and title

BY Re€nsASLE ELEcTawic W EAns

 

 

Sworn to before me and-signedin-my-presence.
“Date: JANuRRyY 14, 2022 ote,
g Judge’s signature
City and state) Zot cE TpAKe Judge Raymond E. Patricco, U.S: Magistrate Judge

 

Printed name and title

 
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AFFIDAVIT IN SUPPORT OF COMPLAINT

I, Edward Jacobson, being duly sworn, hereby do depose and state:

1. Iam a Special Agent with the Federal Bureau of Investigation (FBI) currently
assigned to the Salt Lake City Division, Coeur d’Alene Resident Agency. Ihave
been employed as a Special Agent with the FBI since August 2003. As part of my
law enforcement duties, I am statutorily charged with investigating federal
criminal violations, including crimes committed on Indian Reservations under:
special jurisdiction of the United States Government. I have been the investigative
case agent involving numerous federal violations to include bank robbery,
aggravated assault, sexual assault, child abuse, firearms violations, and drug crime.
In the course of these investigations, I have obtained numerous search warrants
and arrest warrants.

2. During my employment as a Special Agent of the FBI, I have training and
experience dealing with violent crime investigations and have prepared search
warrant affidavits in support of these investigations. I have attended numerous
conferences and seminars which have included training in search and seizure
techniques, interrogations, witness and defendant statements and confessions, as
well as statutory and contemporary case law developments. I have conducted
dozens of federal investigations involving aggravated assaults and unlawful
possession of a firearm cases in my 18 years of investigating crimes. I graduated

_ from the FBI Academy in Quantico, Virginia, in December 2003. J am a certified
Firearms Instructor with the FBI and have been such since 2007. As such, I have
extensive knowledge in the operations and types of firearms.

3. This investigation involves the unlawful possession of a firearm by Timothy Ray
ALLEN, Date of Birth April 17, 1992. During this investigation, I have relied on
information provided by Coeur d’ Alene Tribal Police Department Officer Charlie
Thompson, I have known Officer Thompson for over a year and know him to be

truthful and honest in cases that I have worked with him.

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4, On January 12, 2022, at approximately 2:35 p.m., Officer Thompson was called to
the Coeur d’Alene Tribal Court building at 1115 B Street, Plummer, Idaho to the
report of a wanted subject at the courthouse. Upon his arrival, Detective
Thompson observed Bailiff Paul Nomee laying on top of another individual. The
individual was later identified as TIMOTHY RAY ALLEN (ALLEN): ALLEN
had multiple outstanding atrest warrants for hin which had been issued from the
Coeur-d’Alene Tribal Court. Bailiff Nomee had already placed ALLEN in |
handcuffs and was restraining ALLEN when Thompson arrived on scene.

5. Officer Thompson learned from Bailiff Nomee that ALLEN had attempted to flee.
when Bailiff Nomee detained ALLEN on the arrest warrants. When Nomee was
restraining ALLEN from leaving, ALLEN bit Nomee’s hand. When Officer
Thompson arrived on scene, he took custody of ALLEN and escorted him out to
his patrol car. Officer Thompson then conducted a search of ALLEN’s person
prior to placing him in the patrol car for transport to the Kootenai County Jail in
Coeur d’Alene, Idaho. When Officer Thompson searched ALLEN’s person,
Officer Thompson located a Smith and Wesson 9 mm pistol in the right front
pocket of ALLEN’s pants. Officer Thompson seized the pistol and then -
-transported ALLEN to the Kootenai County Jail in Coeur d’ Alene, Idaho, where
he was booked in on the outstanding Arrest Warrants, arid additional
Coeur d’Alene Tribal Charges.

6. On January 13, 2022, Your Affiant received the Firearm from Officer Thompson.
Your Affiant identified the firearm as a Smith and Wesson Shield M2.0, 9mm
Pistol, Serial Number JHH2550. Due to Your Affiant’s training and experience
and from information received from ATF Agent Mario Piergallini, Your Affiant is
aware this model of Smith and Wesson handgun is manufactured in Massachusetts

- and Connecticut and therefore has traveled in interstate commerce to Idaho.

7. Your affiant reviewed the criminal history of ALLEN and as a result of this review

determined ALLEN has been convicted of felony criminal violations. _ The felony

convictions include-a July 6, 2010, conviction in the 1* District Court in Coeur

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d’Alene to Eluding a Peace Officer and a November 11, 2011, conviction in.

Federal Court in Coeur d’Alene to ‘Assault with a Dangerous Weapon.

 
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8. On April 29, 2016, ALLEN was sentenced to 37 months imprisonment and three
years supervised release for his guilty plea to one count of 18 USC 922(g)(1),
Felon in Possession of a Firearm.

9. Based on the information identified in this affidavit, Your Affiant believes there is
probable cause that TIMOTHY RAY ALLEN, date of birth April 17, 1992, was
unlawfully in possession of a firearm on January 12, 2022, in the District of Idaho
when he was arrested by Coeur d’ Alene Tribal Police Department Officer
Thompson in violation of 18 USC 922(G)(1), Felon in Possession of a Firearm.

 

Edward I. Jacobson
Special Agent, FBI

Subscribed and sworn to before me this 14th day. of January, 2022, by Edward I. Jacobson.

Judge Raymond E. Patricco
United States Magistrate Judge

 
